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                                                 STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                          BARBARA D. UNDERWOOD
ATTORNEY GENERAL                                                                                             SOLICITOR GENERAL
                                                                                                       DIVISION OF APPEALS & OPINIONS


                                                                      August 22, 2019

       BY ECF

       Honorable Elizabeth A. Wolford
       United States District Judge
       Kenneth B. Keating Federal Building
       100 State Street
       Rochester, New York 14614

                 Re:    Kearns v. Cuomo et al., No. 19-cv-00902 (EAW)

       Your Honor,

               On behalf of defendants, I write in opposition to the motion to intervene filed by Daniel
       T. Warren (ECF No. 17). Warren seeks to intervene in this action, pursuant to Federal Rule of
       Civil Procedure 24(a)(2) (intervention as of right) and 24(b)(1)(B) (permissive intervention), for
       the purpose of moving to dismiss plaintiff’s complaint. He alternatively seeks leave to participate
       as amicus curiae in support of defendants.

               The Court should exercise its discretion to deny Warren’s motion to intervene because
       Warren cannot satisfy the requirements for intervention. See Rios v. Enterprise Ass’n
       Steamfitters Local Union No. 638, 520 F.2d 352, 358 (2d Cir. 1975). Among other things, where
       the proposed intervenor and a named party share the same “ultimate objective,” the party seeking
       intervention must make a “rigorous showing” to overcome the presumption that his interests will
       be adequately represented by the named party. Butler, Fitzgerald & Potter v. Sequa Corp., 250
       F.3d 171, 179-80 (2d Cir. 2001). This heightened standard is particularly appropriate where, as
       here, the named parties are governmental entities already “charged by law” to represent the
       proposed intervenor’s interests. See United States v. Hooker Chemicals & Plastics Corp., 749
       F.2d 968, 987 (2d Cir. 1984); 7C Charles A. Wright & Arthur R. Miller, Federal Practice &
       Procedure § 1909 ([Westlaw] 3d ed. 2019) (“compelling showing” required to rebut adequacy of
       representation where government is party).

              Here, Warren admits that he “does not seek any different relief” than defendants—that is,
       dismissal of plaintiff’s complaint. (See Warren’s Mem. of Law in Supp. of Mot. for Intervention
       (Mem.) at 4 (ECF No. 17-2).) But he has made no showing to support his conjecture that

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defendants will not adequately represent his interests because they “may choose” to “render this
action moot rather than vigorously defend” it (see id. at 6). To the contrary, defendants plainly
demonstrated that they will forcefully litigate against plaintiff’s claims when they filed their
motion to dismiss the complaint and opposition to plaintiff’s preliminary injunction motion. (See
ECF Nos. 24-25.) That Warren claims a different motivation for seeking dismissal—purportedly
based on protecting Erie County coffers from a potential loss of revenues1 resulting from
plaintiff’s refusal to issue standard driver’s licenses to certain noncitizens (see Mem. at 6)—is
insufficient to show inadequacy of representation. See Washington Elec. Co-op., Inc. v.
Massachusetts Mun. Wholesale Elec. Co, 922 F.2d 92, 98 (2d Cir. 1990); United States v. New
York State Bd. of Elections, 312 F. App’x 353, 354-55 (2d Cir. 2008).

        Warren has also failed to demonstrate how any potential loss of revenue by the county
would impact him personally so as to give him the requisite “direct, substantial, and legally
protectable” interest in this action under Rule 24(a)(2). See Washington Elec. Co-op., 922 F.2d at
97. Indeed, Warren’s purported interest here—based on a hypothetical loss of revenues to Erie
County if certain noncitizens apply for standard driver’s licenses in the county and if plaintiff
then refuses to issue driver’s licenses to these noncitizens—does not satisfy Rule 24(a)(2)
standards because it is impermissibly “contingent upon the occurrence of a sequence of events.”
See id.

       Nor is permissive intervention under Rule 24(b)(1)(B) appropriate in this case because
Warren’s proposed bases for dismissing plaintiff’s complaint are largely duplicative of the
arguments already raised by defendants in their motion. See British Airways Bd. v. Port Auth. of
New York & New Jersey, 71 F.R.D. 583, 585 (S.D.N.Y. 1976) (denying request for permissive
intervention where third party “presents no new questions”).

       In sum, this Court should deny Warren’s request to intervene. Defendants, however, do
not object to Warren’s alternative request to participate as amicus curiae should the Court
conclude that such participation would be helpful to the Court. See, e.g., McBeth v. Gabrielli
Truck Sales, Ltd., 768 F. Supp. 2d 392, 394 (E.D.N.Y. 2011).

                                                     Respectfully submitted,

                                                     /s/ Linda Fang

                                                     Linda Fang
                                                     Assistant Solicitor General
                                                     (212) 416-8656

cc:    Counsel for plaintiff (via ECF)
       Daniel T. Warren (via U.S. mail)

       1
         Pursuant to Vehicle and Traffic Law § 205(3), county clerks performing DMV
functions are entitled to a percentage of the gross revenues collected for performing these
functions.

                                                2
